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                                                                    United States Bankruptcy Court
                                                                        Southern District of Texas

                                                                           ENTERED
                                                                       September 12, 2024
                                                                        Nathan Ochsner, Clerk

          IN THE UNITED STATES BANKRUPTCY COURT
            FOR THE SOUTHERN DISTRICT OF TEXAS
                     HOUSTON DIVISION

 IN RE:                               §
                                      §      CASE NO: 24-32143
 GALLERIA WEST LOOP                   §
 INVESTMENTS, LLC,                    §
                                      §
          Debtor.                     §
                                      §
                                      §      CHAPTER 7

          ORDER DENYING MOTION TO RECONSIDER
                      (ECF No. 127)

        On September 10, 2024, Mr. Choudhri sought reconsideration of
 the Court’s order denying his motion for continuance. The motion for
 reconsideration is docketed by Mr. Choudhri with respect to an order
 entered on July 10, 2024 at ECF No. 92. It is apparent that is a
 docketing error. The substance of his motion concerns the Court’s
 August 27, 2024 order entered at ECF No. 118. That is the order that
 is addressed here.

       At a hearing on July 22, 2024, Mr. Choudhri challenged the
 appointment of the interim chapter 7 trustee by the United States
 Trustee. An interim chapter 7 trustee, who is vested with authority to
 control property of an estate, must be “disinterested” to qualify to serve.
 Mr. Choudhri alleged that Mr. Sommers was not “disinterested” and
 thus not qualified to serve.

        The Court expressed its concern about delaying any consideration
 about Mr. Sommer’s qualifications to serve. Mr. Choudhri was advised
 by the Court that it would set the hearing as soon as Mr. Choudhri could




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 be ready. The Court advised that the Court would not allow Mr.
 Sommers to serve as interim Trustee if he was not disinterested.1

       Mr. Choudhri requested a hearing in 30-days and that discovery
 be permitted. The Court granted the precise relief requested by Mr.
 Choudhri. Mr. Choudhri picked the date of August 20, 2024. The Court
 granted the request. When a party aligned with Mr. Choudhri was not
 available on that date, Mr. Choudhri suggested August 27, 2024 or
 August 28. The Court set the hearing at 9:00 a.m. on August 28, 2024
 as requested by Mr. Choudhri and counsel for his aligned parties.
 Recorded on July 22, 2024 between 2:00 p.m. and 2:06 p.m. The Court,
 at Mr. Choudhri’s request, allowed discovery and required expedited
 responses.

        Mr. Choudhri did not file any witness list or exhibit list prior to
 the scheduled August 28, 2024 hearing. It was alleged that he also took
 no discovery. Mr. Choudhri has not contradicted that allegation.

        On August 27, 2024 at 2:16 p.m., Mr. Choudhri filed a motion to
 continue the August 28, 2024 hearing. The sole basis in his motion for
 a continuance was that he was “ordered to attend another court setting
 in Federal court on the same date, making attendance at both hearings
 not possible.” He attached a purported docket sheet from a case pending
 in the United States Bankruptcy Court for the Western District of
 Texas. However, what he attached was not a docket sheet at all.
 Moreover, the document did not contain a scintilla of information
 concerning any requirement that Mr. Choudhri attend a hearing in the
 Western District of Texas.

       At 4:46 p.m., the Court issued its order for which reconsideration
 is now sought. The Order granted leave to Mr. Choudhri to supplement
 his motion with a copy of the order requiring his attendance. The Court




 1 The docket sheet reflects that Mr. Sommers was elected as the permanent chapter 7
 Trustee at the First Meeting of Creditors on August 14, 2024. An elected permanent
 trustee is elected by the estate’s creditors. 11 U.S.C. § 702(b). The permanent trustee
 is not required to be “disinterested” under the Bankruptcy Code.



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 advised that it would consider the continuance motion upon receipt of
 the Order.

       Mr. Choudhri did not supplement his motion. The Court
 proceeded with the scheduled hearing. Mr. Choudhri did not attend.

       Remarkably, Mr. Choudhri seeks reconsideration. His motion for
 reconsideration is self-defeating:

       1. The reconsideration motion informs the Court that Mr.
          Choudhri was not ordered to attend any hearing — the sole
          basis of his initial motion. See Decl. of Steve Sather, Ex. 1 ¶14,
          ECF No. 127 (“Mr. Choudhri was not ordered to be present for
          trial.”) On the contrary, it appears that Mr. Choudhri chose
          to attend the hearing because it was in his best interest. That
          may be a valid reason, but it would not explain why he waited
          until the afternoon of August 27, 2024 to seek a continuance.

       2. The reconsideration motion attaches a docket sheet from the
          Western District of Texas. The August 28, 2024 hearing in the
          Western District was set during an August 22, 2004 hearing
          at which Mr. Choudhri’s attorney was present. Mr. Choudhri
          took no action to notify this Court or to request a continuance
          from this Court until 3 business hours before the scheduled
          August 28, 2024 hearing.

       3. The motion contains no indication as to why Mr. Choudhri
          failed to comply with the simple requirements of the Court’s
          order. He was merely required to supplement his motion so
          that the Court could consider whether to grant the requested
          relief.

       Inasmuch as it is now known that the motion for a continuance
 contained the materially false statement (that Mr. Choudhri was
 ordered to appear in another Court), it is clear that the Court’s order to
 supplement was appropriately issued.

       On July 22, 2024, Mr. Choudhri advised the Court that he
 required discovery to be able to proceed with his disinterestedness



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 objection. The motion for continuance does not indicate that there is any
 merit whatsoever to the disinterestedness objection; Mr. Choudhri
 apparently did not conduct the discovery that he said was required. In
 any event, Mr. Choudhri failed to file a witness and exhibit list as
 required by this Court’s local rules. He would not have been able to
 proceed with his case with or without a continuance.

       There is neither a procedural nor a substantive basis on which
 Mr. Choudhri has demonstrated any merit.

       Reconsideration of the order requiring supplementation is denied.

 SIGNED 09/12/2024


                                  _______________________________
                                           Marvin Isgur
                                  United States Bankruptcy Judge




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                          EXHIBIT AA-13
